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EXHIBIT 3 SMITH DEPOSITION

Pages: 42, 43, 48, 75-78, 90-93, 106, 108, 110-113 164-166
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John J. Smith, Jr.
November 16, 2018

 

COMMONWEALTH OF MASSACHUSETTS
FOR THE DISTRICT OF MASSACHUSETTS

C.A.No.: 3:17-cv-00072 (RNC)

JOHN J. SMITE, JR-
PLAINTIFF

VEX

CITY OF HOLYOKE, OFFICERS
DEFENDANTS

Taken before Roxanne C. Costigan,
Certified Merit Reporter, Notary Public, pursuant to
Rule 30 of the Massachusetts Rules of Civil
Procedure, at the law offices of ACCURATE COURT
REPORTING, INC., 1500 Main Street, Suite 222,
Springfield, MA, on November 16, 2018.

Roxanne C. Costigan
Certified Merit Reporter

 

 

 

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A. Yes, blocking that street because --
Q. Blocking the street?
A. Yes, the wrong way, drove up one way the

wrong way, and you back a dog in corner and hit them
in a bedroom, what's he going to do? He's going to
bite the living heck out of you or get the heck away
fromyou. | just @ot.cut of there. Jumped to my car,
put it in reverse, and got out of there.

Oo. Did you see this Officer Manzi get out of

the police cruiser?

A. Yes. i-did. Yes.

oF She came out of the passenger side?
Pe Yes, she did.

O Ald at this point in time, that other

officer, the first officer wasn't around?

A. No, be wasn’t around.
Q- So, did Officer Manzi tell you to stop?
A. Never mentioned anything. The only thing

she said to me was what a rogue person would do, what
somebody that was trying to kill you, rob you or cause
you harm would do, that's all-she did. She did not
act in her official capacity as a Holyoke Police
Officer. She acted as some punk on the street that

was going to rob you or kill you. That's how she

 

 

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acted .
OQ. So, notwithstanding what Officer Manzi

did, you just got in your vehicle, correct?

A. Yes.
Q. Then what did you do?
A. IT floored it, backed up that street.

Probably the next street, two-way street, when I got
there, put it in drive. Then I looked to my left, and
there's another officer standing there, over the hood
of the car, standing on the sidewalk, another car with
black car, and he didn't have his service revolver.
He had a Clint Eastwood revolver. If you remember
Clint Eastwood, you remember whatever revolver he had
in his damn hand, it had a barrel on it like that.
That ain't a cop gum. .-I said, I got.to get me out of
there. Put my head down, punched that car. They were
behind me, never anywhere else but behind me.
as A Clint Eastwood Dirty Harry --
A. 72 Meal. Yeah. Ho. No. No.
ATTORNEY KOTFILA: Hold on, John.
THE WITNESS: A .44 Magnum, Clint
Eastwood gun.
Os (By Attorney Emma) A .44 Magnum?

A. This is the most powerful handgun in the

 

 

 

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everybody to chase you.
ATTORNEY KOTFILA: All right. Just
answer. No commentary.
THE WIEENESS:° No, I did not. No.
No one was ever around me. They were behind
me.
O. (By Attorney Emma) Did you drive your
car through a stop sign without stopping?
A. lL Certainly did, yes. I paid the fines,
paid all the tickets, lest my license, paid it back,

got my license back.

2s Bear with me one second, sir.
A. I bought. this coat at Wilson's over here.
0. Sir, we are on the record still. You

were charged with a number of crimes arising out of

these incidents of June 25, 2014, correct?

A. Yes, I was.

O. You were indicted. for driving to
endanger?

A. sure. Mm-hmm.

cy You pled guilty to that charge?

A. No. I pled guilty to reckless operation

of a motor vehicle, $20 fine, go over the line three

times, you get the same charge, for a $20 fine, loss

 

 

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Oo. And you were being followed by Holyoke
police cruisers as you drove through the streets of
Holyoke, right?

A. Ne.  Couidn't see them. No. I knew they
were there because 1 could hear them, but they could
not be seen. They were nowhere anywhere around me.

They were maybe five, six blocks away.

0. Bue you. -=

A. No one was --

OQ. You would hear them?

A. ¥es.

CO. You Heard sirens?

A. Yes.

OG; Let me finish my question, Mr. Smith.
A. sorry. .-Yes.

GC. Okay?

A. Yes, Sir.

©. You heard their sirens?

A. Yes.

Q. But you did not see any police cruisers

behind your vehicle as you drove through the streets

of Holyoke?

 

 

A. No. -No. No.
o- You didn't see any flashing lights?
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A. Nope. No. Nope.

Q So, you drive out of Holyoke?
A. Yes.

0 Got your car up om to 91 North?
A Yes. Yes.

O: When you entered 91 North, did you notice
any police cruisers following you?

A. Maybe miles back, and I looked -- I think
at one time, I never looked back. You never look
back. .I looked back in the mirror. I love my car.
don't want to smash my car. I looked back, this in
the mirror, and yes, somewhere back there, they were,
yes.

How many?

T couid@n"*t tell you.

More than one?

Couldn't tell you. Couldn't tell you.

But you saw at least one police cruiser?

> Oo pO pO

L seen Lleshing lights. I Looked in a
split second and saw lights back there.

How far back was way back?

Probably a mile or more.

Didn't get any closer to you?

Cee

No. They never came close until they --

 

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until the ened.

OQ. Miiloright. So, you drove 91 North to, I

think, the first Northampton exit, correct?

Exit 18, yes.

OG. And you got. off the Exit 18?

A. Les:

O.. When you were on the exit ramp, were any

police cruisers following you?

A. At that time, no. Nope.

O. You didn't see any police cruisers in
your rearview mirror when you were on the Exit 18
ramp?

Ae No. sir.

Q. When you came to the end of the ramp at

Beit 18, you book a right on to Route 5, correct?

A. Yes, S37.

O: All YiGAL .

A. Yes, Sar.

eas And then you proceeded back towards
Holyoke? 7

A. ¥es, Sir.

Q Right?

A. Yes, sir.

Q You were on Route 5?

 

 

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November 16, 2018 7&
Pee Yes, Sir.
OQ. You were heading generally south,
COTFect?
A. Yes, sir.
GC. All right. And as you were traveling

along Route 5 south, at this time, did you notice any

police cruisers behind your vehicle?

A. Maybe a couple of miles back, yes.

i. Couple miles back?

A. Tes.

QO. All right. Were you throwing anything

out the window of your vehicle when you were on 91?
A. Chain smoking cigarettes, yes, one right

after the other.

oO. Did you make any cell phone calls --
A. No. Ne.
QO: Did you make any cell phone calls while

you were on. Gi?

A. We, S12 :

Q. Did you make any cell phone calls from
the time you left your parking spot in Holyoke up to
the time you got onto 91?

A: No, sir.

QO. Did you make any cell phone calls while

 

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A. Jup.
O. You gunned it?
A. Not gunned it, but I got out of there.
QO. Okay. And you went along, you went up on

Route 202 heading essentially west?

A. To Westfield.

oe Towards Westfield?

A. Yup.

O: All right. Tell us what happened next.
A. What happened next? Well, I got down --

that's when I called my mother. I got down to the
bottom of the hill, and I looked and there was nobody
behind me at all.

iO. You saw no lights?

A. Not a single, nothing behind me at all.
And when I got to Westfield, when I got to where you
got to turn and get on to Southampton Road, you could
see they were waiting there, all with stop sticks. I
wanted 1t to end. So, I let the guy throw the stop
Sticks and I ran over them, and then --

oO. All right. So, where were the stop
sticks thrown? Were they on the --

A. They were --

OQ. Were they on 202 or were they on Route

 

 

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A. 202. and 10 198 what 1t is. It was 202 and
10 is right there.

Cc. There.is an intersection of Route 202 and
10?

A. Okay. Where the island is, traffic flows
there, the traffic, they were on 202 at the bottom of
the island, not at the top where the light is, and
through them, there is a --

CG. There is a light at the intersection of

202 and 16, right?

A. Yup.

i: Now, 202 runs generally east/west, does
LE or?

A. Yes. - Sar.

OQ; And 202 is the road that runs generally

from Holyoke into Westfield, right?

A. Generally, yes.

QO. And you were traveling along that road?
A. Yes, Sir.

oO. You were approaching the intersection of

202 and 10, . right?
A. Yes .

©. 10 runs generally north/south?

 

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A. To Holyoke -- I mean, to Easthampton and

Westfield, yes.

Q. Correct? And you were intending to
turn --

A. Léft and go home.

Oo. == IeEE?

A. TES.

Q. And there's a light there --

A. Yes.

QO. -- at that intersection? So, you were

intending to turn left onto Route 10?
A. Tap -

To head south?

A. Yes.

Q. Did you in fact make that left-hand turn?

A. I did, after my tires were flattened,
yes.

CG. So, you hit the stop sticks before you

Look. the tert-band turn?

A. Yes, I did.

6. How far before that intersection did you
hit the stop sticks?

A. Probably about sixty feet, about sixty

feet from where the sticks hit my car to where the

 

 

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stop light is, and I continued through the light and
let the car Step.

C. What was the speed of your vehicle when
you struck the stop sticks?

A. Probably about twenty, thirty miles an
hour .

G. Did you suffer any injury as a result of

hitting those stop sticks?

A No. No.
Q. Your car didn't stop suddenly, did it?
A. TE took a minute for those tires to

flatten, the cheap tires that were on there. Boy, I'm
not going to buy another set of those.

Ss Your car ultimately came to a stop and
stopped gradually?

A. It ultimately came to a stop right after
the Cumberland Farms, probably about three, 400 feet
from where the sticks hit.

oO. Now, from the time you hit the stop

Sticks, backing up to when you got in your car at

Holyoke?
A. es .
OQ: About how long in time had elapsed?
A. Probably about forty-five minutes.

 

 

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A.

> Oo Pp ©

oO.
they struck

A.

Gg.

A.

a.

A.
-
A
oO:
A.

@.
wheel?

A.

 

Immediately afterwards.

Pretty much simultaneous, wasn't it?
Simultaneous.

Were you wearing your seat belt?

Yup. Yes, sir.

You were injured when that happened, when
you, Correct?

No. No.

You didn't suffer any injury from when

you got struck?

No. No. _They only hit me -- they hit

me -- it just -- slowly enough just to damage the

vehicle, keep it from going anywhere.

Did any part of your body strike the

inside of your vehicle --

No.
“aS. a result of that contact?
No.
Did you hit the steering wheel?

Might have hit the steering wheel, but

nothing that was going to harm me, no.

What part of your body hit the steering

Probably my arm or something.

 

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contact with the police cruiser?

A.

oO.

No. No.

Did your seat belt tighten when this

contact occurred?

A.
o.
A.
around in
Q.
seat?
A.
Just like
yourself.
O.;
FeSuLtE OF
A.
-
A.
blow with

smash the

Not really, because it wasn't enough.
Were you pushed back in your seat?
No. it was like, more like just jostled
Your Chair like this. That's all.

So, you were jostled around inside your
No.

Yeah. Just a little -~ nothing.

if you were moving around in your car

Did your head go back and forth as a
being struck --

No.

-- on the sides by those vehicles?

No, they did not strike me with a deadly
their automobiles.

It was just more to

car and keep it from going anywhere because

she outraced them all.

She outraced them all?

 

 

o.
Be: I don't mean that, she.
Oz You mean the car?

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struck your vehicle?

A. Well, they put a K-9 into my passenger
window.
C. Do you remember the K-9 coming in your

passenger window?

A. ft remember the K-9 coming in.

Q. You remember the dog?

A. I remember the dog.

O- What kind of dog was it?

A. Probably like a small girl German
Shepherd.

Ce Color?

A. She was a girl dog. Grayish.

oO. You. could tell. it was a female?

A. Yeeh.  I'm.an animal person. Yes. I'm
an animal person. TI can tell from -- well, I can't --

no, not by --
O. Again, I'm asking you, I'm reminding you,

Mr. Smith, you have to tell me what you remember.

A. Yeah. I can tell what an animal is.

oO. Were you able to observe that dog's
genitals --

A. No.

Q. -- to know it was --

 

 

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A. No.
o. Then how do you know it was a female?
re By the face, the face of the animal, the

animal's traits, the way the animal is, you can tell.
O What was that animal doing?
A. The animal came in, and I turned my head,
and as soon as I turned my head and saw the animal and
realized, 1 seid, Ha, girl, or something like that to

the animal. That's all I remember.

©. Okay.
A. That was it.
Q. All vight. All right. Let me stop you

right there. The animal came front --

A. PrOmE passenger --

o. -- passenger window?

A. -- window.

QO: Was the window down?

A. Yes. Both my front windows were down.
QO. And then that's it, you don't remember

anything else?

A. IT remember nothing else after that.

Q. Okay. And do you remember going to the
hospital?

A. Oh, yes. Yes.

 

 

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QO. Do you remember getting first aid at the
scene?
A. At the scene in the ambulance, yes.
OQ. So, 1S it: Eair to say that you lost your

want

 

A.

oP 0 p ©

memory from the time you observed the dog to the time

you got into the ambulance?

Yes.

One big black spot?

Yes .

You're sure about that?
Yes. Yes.

And I'm going to repeat it again and I

to be sure.

He Pe FO PoP Fe

Yes.

Because this is your testimony.
Yes .

And I want it to be accurate.
Yes.

You want it to be accurate too?
Yes.

Correct?

Exactly.

You saw the dog?

Yes.

 

 

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OQ. You blacked out?
A. Yes.
OQ. And then you came to in the ambulance?
A. I came to, yes. Before that -- I came --
QO: No... No.
A. ¥es..
C. Is that your testimony?
A. Yes. . Yes.
oO. Again, I want --
A. Yes. I came to in the ambulance, yes.
O: Dia? Ge
A. Yes, sir. Yes.
QO. Okay. And that's what you remember?
A. Yes...
Go. And you're testifying under oath right
now?
A. Yes.
And that is the truth as far as you know
oe
Ag Ves Sir.
CO. Where did the ambulance take you?
A. Took me to Holyoke, the Holyoke Mercy

 

Hospital, instead of Westfield right down the road.

Oo.

Well, Holyoke Hospital?

 

 

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Oo. Mr. Smith, I represent Trooper Miranda
who you sued in this case.

AY Yes, Sir.

Q. I'm going to touch on a few questions. I
will do my best not to repeat questions that have

already been asked of you.

A. Thank you.

Oo. Bear with me if I do. All right?

A, Yes .

©. Now, Mr. Smith, at the point in time that

you got back into your car in Holyoke --
A. Yes...

Q. -- you recall after the Police Officer

called out to you?

A. Yes.

O.. I'm going to take you back to that.

A. Okay.

o. You get back into your car and you sped
away?

A. Yes.

. COrrect ?

A. Yes.

Os What was your end game at that point?

What was your plan?

 

 

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re If you're going to kill me, you're going

to kill me where somebody knows. Just get home.

o. ir Sorry 2

A My plan was just to get home.

Q. Did you go directly home?

A Yes. Well, no. In a roundabout way,

yes. No, I did not go directly home. I guess, what
do you -- how would I say this? I was just trying to
shake them.

Go. All Yrghte . So, you had no doubt in your

mind that the police were following you?

Ae Yes.

Q. And that they were trying to stop you?

A. Yes.

O Right? And their goal was to stop you?

A. ToS.

Oo. And your goal was to not be stopped?

A. My goal was to get away from. What they
had -- my end of it was, yes. Yes.

Oo. You had no intention of stopping?

A. No intention for stopping for them after

what happened on the street.
©... And you weren't going to -- there was no

way you were going to voluntarily be stopped?

 

 

 

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A. NG. No. No.
©. So, now, had you ever had a Police

Officer hola a gun on you before that day?

A. Never in my life. Scared the life out of
me.

Q. But in reality, you got in your car and
you sped away, correct?

A. Yes. Yes... Yes.

OG. Now, you said that the time from when you

got in your car on Elm Street in Holyoke until the dog

came into your car --

A. Yes.

o. -- was about forty-five minutes, right?
A. Yeo. . Yes.
Q.. What's the highest speed you hit during

that forty-five minute time?

A. For the forty-five minute time, I believe
it was ninety miles an hour, the top speed of my car
at that time was ninety miles an hour.

Oo. You hit that, ninety miles an hour?

A. On the highway, yes, just to get to the
next exit and get off.

0. What's the closest that you ever observed

a police car to you while you were traveling?

 

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